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PROB 12A
(7/93)

                              United States District Court
                                            for
                                  District of New Jersey
                          Report on Offender Under Supervision
his
Name of Offender: Messiah Arrington                                                   Cr.: 18-00734-001
                                                                                     PACTS #: 5761323

Name of Sentencing Judicial Officer:    THE HONORABLE SUSAN D. WIGENTON
                                        UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 06/25/2019

Original Offense:   Unlawful Transport of Firearms - Etc., 18 U.S.C., Section 922(g)(1)

Original Sentence: 36 Months imprisonment, 36 Months supervised release

Special Conditions: Special Assessment, Substance Abuse Testing, Drug Treatment, Gang
Associate/Member, Gang Restriction Court Ordered, Life Skills Counseling, Education/Training
Requirements, Mental Health Treatment, Other Condition, Support Dependents, Forfeiture

Type of Supervision: Supervised Release                       Date Supervision Commenced: 09/03/2021

                                NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number     Nature of Noncompliance

 1                      The offender has violated the mandatory supervision condition which states 'You
                        must refrain from any unlawful use of a controlled substance. You must
                        submit to one drug test within 15 days of release from imprisonment and at
                        least two periodic drug tests, thereafter, as determined by the Court.'

                        During an initial home contact with Arrington on September 8, 2021, he admitted
                        to using marijuana on September 7, 2021.


 2                      The offender has violated the standard supervision condition which states 'You
                        must work full-time (at least 30 hours per week) at a lawful type of
                        employment, unless the probation officer excuses you from doing so. If you
                        do not have full-time employment you must try to find full-time employment,
                        unless the probation officer excuses you from doing so. If you plan to change
                        where you work or anything about your work (such as your position or your
                        job responsibilities), you must notify the probation officer at least 10 days
                        before the change. If notifying the probation officer at least 10 days in
                        advance is not possible due to unanticipated circumstances, you must notify
                        the probation officer within 72 hours of becoming aware of a change or
                        expected change.'
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                                                                                           Prob 12A – page 2
                                                                                           Messiah Arrington

                        On September 8, 2021, Arrington advised the probation department that he was
                        working for Alpha Cold Storage though Action Staffing. The client has failed to
                        work at Alpha Storage since that date.

 3                      The offender has violated the standard supervision condition which states 'You
                        must answer truthfully the questions asked by your probation officer.'

                        On October 4, 2021, Arrington contacted the probation department and stated he
                        was working Monday through Friday from 9:00am until 5:00pm at JFC Logistics
                        though Action Staffing. Action Staffing advised this officer that since September
                        1, 2021, Arrington worked one day, September 14, 2021, at JFC Logistics.

U.S. Probation Officer Action:

No official Court action is recommended at this time. A copy of this letter will be provided to Mr. Arrington
and will serve as an official written reprimand. He has been referred for a mental health evaluation and will
also be referred for a substance abuse evaluation, and possibly treatment. Additionally, the probation office
will refer Arrington to the New Jersey Reentry Corporation for assistance securing steady employment.
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                                                                                                  Prob 12A – page 3
                                                                                                  Messiah Arrington

The probation office will confirm Arrington’s participation with all the services outlined above and will
closely monitor his progress. Any further noncompliance will be reported to Your Honor in a timely
manner.

                                                                   Respectfully submitted,

                                                                   SUSAN
                                                                       AN M. SMALLEY, Chief
                                                                                          Ch
                                                                   U.S. Probation Officer

                                                                    By:   KEVIN P. EGLI
                                                                          Senior U.S. Probation Officer

/ kpe

APPROVED:                            Digitally signed by Luis R.
                                     Gonzalez
                                     Date: 2021.10.04 16:33:42
                                     -04'00'
LUIS R. GONZALEZ                       Date
Supervising U.S. Probation Officer

Please check a box below to indicate the Court’s direction regarding action to be taken in this case:

X No Formal Court Action to be Taken at This Time (as recommended by the probation office).

   Submit a Request for Modifying the Conditions or Term of Supervision
   Submit a Request for Warrant or Summons
   Other



                                                                          Signature of Judicial Officer


                                                                     October 5, 2021
                                                                                       Date
